  Case 19-10061       Doc 32     Filed 04/08/19 Entered 04/08/19 17:30:29              Desc Main
                                  Document     Page 1 of 29


                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In re                                                Case No. 19-10061-JNF

Bradley J. Bartlett                                  Chapter 13
Deborah L. Bartlett
                      Debtors

  EXPEDITED MOTION FOR LEAVE TO SELL 1 LONG SWAMP ROAD, BOURNE, MA
     02532 FREE AND CLEAR OF ALL LIENS, CLAIMS, AND ENCUMBRANCES

        The Debtor in the above-entitled matter moves this Honorable Court for leave to sell the

home at 1 Long Swamp Road, Bourne, MA 02532 (“Real Property”). In support of this motion,

the Debtor states as follows

1. This case was commenced on January 8, 2019 by filing a Voluntary Petition for Relief under

    Chapter 13 of the United States Bankruptcy Code.

2. The Debtors would like to sell the Real Property. They own the property as tenants by the

    entirety.

3. The Debtor has a buyer for said property and entered a Purchase and Sale Agreement. See

    Exhibit A.

4. Pursuant to the Purchase and Sale Agreement, the Debtors have agreed, subject to the

    approval of the Bankruptcy Court, to sell the Property to Alex and Laura Russo (the

    “Purchaser”) for a total purchase price of $360,000.00. As set forth in the Agreement, the

    Purchaser paid a $1,000.00 deposit with the contract to purchase and $5,000.00 with the

    Purchase and Sale agreement. The balance of the Purchase Price will be paid upon the

    closing of the Sale. The Debtor will sell the Property with quitclaim covenants.

5. The Parties have tentatively scheduled the closing for April 23, 2019 at noon.

6. Proceeds shall be distributed as follows:
  Case 19-10061        Doc 32     Filed 04/08/19 Entered 04/08/19 17:30:29              Desc Main
                                   Document     Page 2 of 29


       A. Pay the first mortgage lien in full;

       B. Pay the second mortgage $9,272.52 with consent. This is a “short sale” and TD

            Bank, the second lienholder, consents to the sale and agrees to accept $9,272.52 in

            proceeds in order to release its lien. See Exhibit B.

       C. Normal closing costs;

7. The Property shall be sold free and clear of all claims, liabilities, equities, exceptions,

   contracts, options, obligations, encumbrances, charges, rights of third parties (express or

   implied), restrictions, mortgages, security interests, and other liens or liabilities of any nature.

   Any perfected, enforceable, valid liens shall attach to the balance of the proceeds of the sale,

   after deducting the payment for any closing costs as set forth in the Agreement, in accordance

   with the priorities established under applicable law.

8. The Debtors believes that the purchase price is fair and reasonable, and that the Property is

   not likely to attract an offer higher than the Purchase Price at this time. The proposed private

   sale is in the estate’s best interest because the Debtors obtained a fair and reasonable price for

   the Property and has avoided the additional cost of conducting a public sale.

9. The Debtors made a good faith effort to market the property and believes this offer represents

   the highest price they would be able to receive.

10. The Debtors request this Court’s approval of the proposed Notice of Intended Private Sale of

   Estate Property, Deadline for Submitting Objections and Higher Offers and Hearing Date (the

   “Notice”) attached as “Exhibit C.”

11. Upon approval of the Court, the Debtors shall serve the Notice (as supplemented by this

   Court) on all creditors, parties in interest, including the United States Trustee, parties who
  Case 19-10061        Doc 32     Filed 04/08/19 Entered 04/08/19 17:30:29              Desc Main
                                   Document     Page 3 of 29


   have filed appearances and requested service of all pleadings and notices, and parties

   regarded by the Seller as potential purchasers.

12. The Debtors request expedited treatment for this motion. The parties have scheduled the

   closing to occur on April 23, 2019. No creditor will be harmed by expedited treatment. The

   mortgage held by Shellpoint will be paid in full. TD Bank holds the second mortgage and

   consents to a short sale and receiving $9,272.52. Short sale approval expires on June 3,

   2019.

13. Finally, the Debtors request that this court waive the 14-day stay of the order authorizing the

   sale imposed by Fed. R. Bankr. 6004(h). Under 11 U.S.C. 363(m), the court should waive

   the 14-day appeal period because the buyers at all times acted in good faith, agreed to pay fair

   market value for the property and negotiated the sale at arm’s length. The buyers did not

   collude or take unfair advantage of the process and is not an insider or an affiliate of the

   Debtor.

WHEREFORE, the Debtors respectfully requests that the Court enter an Order:

1. Allowing expedited treatment of the motion;

2. Approving the Notice of Intended Private Sale and manner of service as set forth above;

3. Directing that the Property be sold free and clear of all claims, liabilities, equities, exceptions,

   contracts, options, obligations, encumbrances, charges, rights of third parties (express or

   implied), restrictions, mortgages, security interests, and other liens, and that any perfected,

   enforceable valid liens shall attach to the balance of the proceeds of the sale , after deducting

   the payment for any closing costs as set forth in the Agreement, in accordance with the

   priorities established under applicable law;
  Case 19-10061        Doc 32    Filed 04/08/19 Entered 04/08/19 17:30:29            Desc Main
                                  Document     Page 4 of 29


4. Authorizing the Debtors to utilize the proceeds of the Sale, to the extent necessary, to pay

   closing costs associated with the Sale as set forth in the Agreement;

5. Authorizing and empowering the Debtors to take such further actions as are necessary,

   appropriate, or desirable to consummate the transactions provided for, or contemplated in, the

   Agreement;

6. Finding the buyer is a good faith buyer under 11 U.S.C. 363(m) and waiving the 14-day stay

   of the order allowing sale in Fed. R. Bankr. P 6004(h);

7. Ordering the Debtor to provide the closing statement to the Chapter 13 Trustee; and

8. Granting such other relief as the Court deems just and proper.


                                                     Respectfully submitted,
                                                     Through counsel,

Dated: April 8, 2019                                   /s/ Thomas C. Benner
                                                     Thomas C. Benner, Esq.
                                                     Benner & Weinkauf, P.C.
                                                     33 Samoset Street
                                                     Plymouth, MA 02360
                                                     (508) 746-8030
                                                     BBO# 655483
                                                     tbenner@tbennerlaw.com
  Case 19-10061           Doc 32       Filed 04/08/19 Entered 04/08/19 17:30:29                     Desc Main
                                        Document     Page 5 of 29




                               UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MASSACHUSETTS

In re                                                         Case No. 19-10061-JNF

Bradley J. Bartlett                                           Chapter 13
Deborah L. Bartlett
                           Debtors

     NOTICE OF INTENDED PRIVATE SALE OF PROPERTY, SOLICITATION OF COUNTEROFFERS,
        DEADLINE FOR SUBMITTING OBJECTIONS AND HIGHER BIDS AND HEARING DATE



__2/14/2019____ IS THE DATE OF THE PROPOSED SALE

______________            IS THE DATE BY WHICH OBJECTIONS OR COUNTERFFERS MUST BE
                          MADE


NOTICE IS HEREBY GIVEN, pursuant to 11 U.S.C. § 363, Fed. R. Bankr. P. 2002(a)(2) and 6004, and MLBR
2002-5 and 6004-1, that the Debtor intends to sell at private sale, the debtor’s right, title and interest in certain
property of the estate.


PROPERTY TO BE SOLD: 1 Long Swamp Road, Bourne, MA


THE OFFER: The Debtor has received an offer to purchase the property for the sum of $360,000.00.


THE PROPOSED BUYER: The proposed buyer is Alex Russo and Laura Russo. The relationship of the
proposed buyers to the Debtor is: None.

THE SALE DATE: The sale shall take place on or before _April 23, 2019          . The proposed buyers paid a
deposit in the sum of $   1,000.00 with the Contract to Purchase and $4,000.00 with the Purchase and Sale
Agreement. The terms of the proposed sale are more particularly described in a Motion for Order Authorizing and
Approving Private Sale of Property of the Estate (the “Motion to Approve Sale”) filed with the Court on _____April
8, 2019 and a written Purchase and Sale Agreement dated March 11, 2019. The Motion to Approve Sale and the
Purchase and Sale agreement are available at no charge upon request from the undersigned.

SALE FREE AND CLEAR OF LIENS: The property at 1 Long Swamp Road, Bourne, MA 02532 will be sold
free and clear of all liens, claims and encumbrances. Any perfected, enforceable valid lies shall attach to the
proceeds of the sale according to priorities established under applicable law.

COUNTEROFFERS OR OBJECTIONS: Any objections to the sale and/or higher offers must be filed in writing
with the Clerk, United States Bankruptcy Court at J.W. McCormack Post Office & Court House, 5 Post Office
Square, Clerk’s Office, Boston, MA 02109 on or before _______________ at 4:30 PM (the “Objection Deadline”).
A copy of any objection or higher offer also shall be served upon the undersigned. Any objection to the sale must
state with particularity the grounds for the objection and why the intended sale should not be authorized. Any
objection to the sale shall be governed by Fed. R. Bankr. P. 9014.




                                                                                                                   EXHIBIT C
Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 6 of 29




AR         LR                          BSB          DLB




                                                                    EXHIBIT A

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Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 7 of 29




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Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 8 of 29




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Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 9 of 29




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Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 10 of 29




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Case 19-10061    Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                           Document     Page 11 of 29




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                                                          Scanned by CamScanner
Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 12 of 29




                           03/13/2019                               03/13/2019
 Alex Russo                04:29 PM EDT
                                           Bradley S Bartlett       04:44 PM EDT



                            03/13/2019                               03/14/2019
  Laura Russo               04:33 PM EDT
                                            Deborah L Bartlett       07:14 AM EDT




AR                                         BSB       DLB
                LR




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          Case 19-10061         Doc 32      Filed 04/08/19 Entered 04/08/19 17:30:29                Desc Main
                                             Document     Page 13 of 29
                              RIDER TO PURCHASE AND SALE AGREEMENT
                       PROPERTY ADDRESS: 1 LONG SWAMP ROAD, BOURNE, MA 02532

                            BRADLEY S. BARTLETT AND DEBORAH L. BARTLETT
                                             (“SELLER”)

                                                            and

                                         ALEX RUSSO AND LAURA RUSSO
                                                  (“BUYER”)

1.       From and after the date of this Agreement, SELLER agrees to permit BUYER and its designees, including but not
limited to prospective mortgage lenders (and their agents), contractors, architects and insurance agents, reasonable access,
at reasonable times, to the said Premises for the purpose of making measurements, inspections, and the like. Said right of
access shall be exercised only in the presence of SELLER, or the Broker named herein, and only after reasonable prior
notice, either written or oral, to the SELLER. In any event, it being agreed that Twenty-Four (24) hours in advance shall
be deemed to be “reasonable prior notice” pursuant to this Paragraph.

2.      BUYER acknowledges that the SELLER and the Brokers have complied with the requirements of Massachusetts
General Laws Chapter 111, as amended, relative to the possible presence of lead paint in the Premises, including the
provisions of Section 197A of Chapter 111. BUYERS acknowledge having been verbally informed of the possible
presence of dangerous levels of lead in the Premises and of the provisions of the Lead Paint Statute, so called (M.G.L.
Chapter 111, Sections 190 - 199A), and the regulations promulgated there under, and acknowledge receipt from SELLER
and/or SELLER's agents, of a Commonwealth of Massachusetts, Department of Health Property Transfer Notification
Certification, and further acknowledges being informed by SELLER and/or SELLER's agents about the availability of
inspections for dangerous levels of lead. BUYER further acknowledges that SELLER has allowed BUYER ten (10) days
to conduct inspections to determine whether lead is present on the Premises. The provisions of this Paragraph shall
survive delivery of the Deed hereunder.

3.      BUYER warrants and represents to SELLER and SELLER represents and warrants to BUYER that neither has
dealt with any broker or other person entitled to a broker's commission in connection with the negotiation or execution of
this Agreement or the consummation of the transaction contemplated hereby except the Broker(s) listed herein and each
agrees to hold the other harmless and indemnify the other against all damages, claims, losses and liabilities, including
legal fees, incurred by the other, arising out of or resulting from the failure of its representation and warranty. The
provisions of this Paragraph shall survive delivery of the Deed hereunder.

4.      SELLER shall execute and deliver simultaneously with the delivery of the deed, and when required shall on oath
swear to the truth of the matters therein set forth, such documents as may reasonably be required by BUYER’s lender or
BUYER’s attorney or the title insurance company insuring the Premises for BUYER, including without limiting the
generality of the foregoing, certifications, or affidavits with respect to: (a) that there are no persons or parties in
possession of the Premises; (b) that there are no facts or conditions which may give rise to mechanic's or materialmen's
liens; (c) an affidavit pursuant to Section 1445 of the Internal Revenue Code; (d) the true purchase price of the Premises
and that the SELLER does not intend to lend to the BUYER a portion thereof; (e) urea formaldehyde foam insulation
("UFFI") Disclosure Affidavit stating that to the best of SELLER’s knowledge there is none; and (f) 1099 reporting
form.

5.       Between the date of the signing of this Agreement and the Closing, SELLER shall maintain and/or service the
Premises and its appurtenances at the same level of effort and expense as the SELLER has maintained and/or serviced the
Premises for the SELLER’s own account prior to the date of this Agreement and without any deferral of maintenance or
repairs, including maintaining and landscaping the grounds and lawn, clearing of all ice and snow from all walkways and
driveways, and winterizing the sprinkler system, if any. All utility systems and appliances shall be in the same working
order at the time of delivery of the deed as at the time of BUYER’S inspection of the premises.
          Case 19-10061         Doc 32      Filed 04/08/19 Entered 04/08/19 17:30:29                  Desc Main
                                             Document     Page 14 of 29
6.      At the Closing, SELLER shall be deemed to have assigned to BUYER (non-recourse to SELLER), if assignable at
no additional cost to SELLER, any and all service contracts, warranties and/or guarantees, if any, covering any and all
systems, fixtures, equipment and appliances as well as those covering any termite or other pest treatments in connection
with the Premises. SELLER will also provide BUYER, at Closing, with all keys, access cards, security codes, automatic
garage door openers and with all manuals and other information in SELLER’s possession and/or control regarding the
Premises and regarding any and all systems, fixtures, equipment and appliances used in connection with the Premises.
The provisions of this Paragraph shall survive delivery of the Deed hereunder.

7.        Paragraph ten (10) of the Purchase & Sale Agreement shall be construed to apply to matters affecting title, the
physical condition of the Premises and compliance of the Premises with municipal, county, state or federal codes,
ordinances, statutes or regulations concerning the Premises and to which the Premises are subject under the terms of this
Agreement. Said paragraph shall not, however, be construed to excuse SELLER from vacating the Premises at the time
set for Closing for reasons such as intentional incompletion of any inspection issues, unavailability of movers,
inconvenience or other such delays in performance hereunder. In the event the date set for the Closing is extended
pursuant to said paragraph, then such extension shall be for as short a time as is required to effect any necessary cure to
the title or conditions of the Premises and with enough notice for BUYER’s lender to be ready to close and, unless waived
by BUYER in writing, shall in no event extend beyond the expiration date of BUYER’s mortgage commitment or, if
expiring earlier, BUYER’s mortgage interest rate lock.

8.      In the event any apportionment/adjustment or mathematical error are within ninety (90) days subsequent to the
Closing, found to be erroneous, then either Party hereto who is entitled to additional monies shall invoice (along with
reasonably detailed back-up data) the other Party for such additional amounts as may be owing, and such amounts shall be
paid, with good funds, within ten (10) days from the date of the invoice. The provisions of this Paragraph shall survive
delivery of the Deed hereunder for ninety (90) days.

9.    BUYER shall not be required to accept a deed signed under a power of attorney. At the sole option of the
BUYER, a Deed executed for the SELLER pursuant to a power of attorney shall not satisfy the title requirements of the
Agreement.

10.     SELLER warrants and represents that SELLER is not a “foreign person” as defined in Section 1445 of the
Internal Revenue Code of 1986, as amended(“I.R.C.”), and agrees to deliver to BUYER, at or before the Closing, an
executed "non-foreign" affidavit in compliance with I.R.C. Section 1445(b)(2) and the regulations thereunder, evidencing
the foregoing warranty and representation.

11.     By executing this Agreement and in order to facilitate the execution and delivery of certain documents
contemplated hereby, the BUYER and SELLER grant to their respective attorneys the actual authority to execute and
deliver on each respective party’s behalf any: (a) agreement modifying the time for the performance of any event
hereunder, and/or (b) any notice that may be given under this Agreement, and the Parties may rely upon the signature of
each such attorney unless they have actual knowledge that a party has disclaimed the authority granted herein. Further,
for purposes of this Agreement, email transmissions, electronic, digital and/or facsimile signatures of such written
instruments shall be binding.

12.      In the event this Agreement contains any provision that the BUYER shall accept the title of the SELLER subject
to easements and restrictions of record, if any, then such acceptance of title subject to easements and restrictions shall be
limited to those of record, if any, insofar as they may be in force and effect, which do not adversely affect the Premises for
use as a single family dwelling by the BUYER and which: (a) give no rights to anyone to enter upon, cross or use any
portion of the Premises other than standard utility easements; (b) have been duly satisfied of record at or prior to the
Closing in the event consent(s) or approvals are needed; and (c) have been duly complied with of record (without
limitation, a certificate of compliance) at or prior to the Closing in the event any order of condition or any other state,
county, or municipal (or any subdivisions thereof) requirements in connection with the Premises.
               Case 19-10061         Doc 32      Filed 04/08/19 Entered 04/08/19 17:30:29                  Desc Main
                                                  Document     Page 15 of 29
    13.     Any title matter or practice matter arising under or relating to this Agreement which is the subject of a title or
    practice standard of the Massachusetts Real Estate Bar Association ("REBA") shall be governed by said title or practice
    standard to the extent applicable, and to the extent such title standard or practice standard does not contradict
    Massachusetts case law and/or any expressed term or condition of this Agreement.

    14.    Without limitation of any other provisions of this Agreement, said Premises shall not be considered to be in
    compliance with the provisions of this Agreement with respect to title unless:

    (a)      All buildings, structures and improvements on the Premises, including, but not limited to, any driveway(s),
    garage(s), cesspool(s), well(s), septic system(s), leaching field(s), fence(s), shed(s) and all other improvements intended to
    be included in the sale and all means of access to and egress from the Premises shall be wholly within the lot lines of the
    Premises and shall not encroach upon, over or under any property not within such lot lines or property of any other person
    or entity;

    (b)      No building, structure, improvement, including, but not limited to, any driveway(s), garage(s), cesspool(s),
    well(s), septic system(s), leaching field(s), fence(s), shed(s), way(s) or property of any kind encroaches upon, over or
    under the Premises from other premises;

    (c)     Title to the Premises is insurable, for the benefit of the BUYER, by a title insurance company reasonably
    acceptable to BUYER, in a fee owner's policy of title insurance, at normal premium rates, on the American Land Title
    Association form currently in use, subject only to the exceptions permitted under paragraph four (4) of this Agreement and
    those printed exceptions to title normally included in the "jacket" to such form or policy requiring no indemnification
    documents to be signed by SELLER;

    (d)     The Premises abut and have vehicular and pedestrian access to a public way, duly laid out or accepted as such by
    the town or city in which the Premises are located and the Premises and all buildings and improvements thereon have
    unrestricted and unencumbered vehicular and pedestrian access to such public way;

    (e)     Complete Certificates of Compliance for any outstanding Orders of Conditions have been recorded or delivered
    for recording prior to the Closing;

    (f)      BUYER’s survey or mortgage plot plan indicates that no structure or improvements situated upon the Premises
    violates said zoning ordinances or by-laws or provisions of M.G.L. chapter 40A, unless such structures or improvements
    are validly nonconforming in accordance with said ordinances, by-laws and general laws;

    (g)      If the Premises is subject to the benefit and obligations of a homeowner’s association, the SELLER shall deliver
    to BUYER prior to Closing in recordable form, a certification from the association that all outstanding fees, charges and
    other monetary obligations have been paid in full. If there is of record a covenant which grants to a third party the right to
    approve structures on the Premises, the SELLER shall deliver to the BUYER prior to Closing in recordable form, a
    certification from the benefitted party that all structures have been approved and built in accordance with the covenant. In
    the alternative, if no such structures have been built within six years prior to Closing, SELLER shall deliver to BUYER
    such documentation as BUYER’s attorney deems reasonably suitable as evidence of the same; and

(h) All existing utilities servicing the Premises are provided directly from a public street or private way, or via validly
    recorded easement with perpetual right of use; and


    (i)      The Premises is equipped with all necessary utilities, including, without limitation, electric, water, public sewer or
    private legally conforming on-site subsurface wastewater disposal system, telephone, cable and natural gas;

    (j)     the Premises are not located within a so-called “Flood Plain Area” or “Flood Plain Zone” or any other such
    flood-prone area as determined under the rules and procedures of the Federal Flood Plain Insurance Program which would
    require BUYER to purchase flood insurance; and
          Case 19-10061         Doc 32      Filed 04/08/19 Entered 04/08/19 17:30:29                 Desc Main
                                             Document     Page 16 of 29
        It is agreed that in the event of a title matter for which a title insurance company is willing to issue a so-called
“clean” policy or provide “affirmative coverage” over a known defect or problem, BUYER may elect to accept same but
shall not be required to do so, and shall have the right, at the option of their counsel, to deem title to the Premises
unacceptable or unmarketable and to terminate this Agreement.

15.     The SELLER represents to the best of SELLER’s knowledge and belief that the following information is true and
accurate as of the date of this Agreement and shall remain true and accurate as of the date of Closing:

(a)     there are no underground oil storage tanks or related apparatus (including piping) for fuel oil, waste oil or other
petroleum products located on or under the Premises and the SELLER has not removed such tanks or apparatus from the
Premises and has no knowledge of any releases into the soil from any such tanks or apparatus;

(b)     other than reasonable quantities of normal household products, there has been no release of any toxic or hazardous
substances (as same is contemplated by MGL Ch 21E) and no such toxic or hazardous substances have been used,
released, generated, stored, treated, disposed of, or otherwise deposited, in, on, about or from the Premises, including
without limitation oil, asbestos and/or chlordane;

(c)    SELLER has complete and unencumbered ownership of all fixtures, fittings and equipment located in the
Premises;

(d)      there is no pending bankruptcy, mortgage foreclosure, or other proceeding which might in any material way
impact adversely on SELLER’s ability to perform under this Agreement. In the event that SELLER files for
bankruptcy, or if involuntary proceedings are instituted against SELLER, BUYER may, at BUYER’s election,
terminate this Agreement by written notice to the SELLER whereupon any payments made under this Agreement
shall be forthwith refunded to the BUYER and all other obligations of the Parties hereto shall cease and this Agreement
shall be void without recourse to the Parties hereto. BUYER is aware that the SELLER is seeking a short sale and the
sale is subject to 3rd party approval;

(e)     SELLER is not aware of any suits, actions, orders, decrees, claims, writs, injunctions or proceedings pending or
threatened against the SELLER or affecting all or any part of the Premises or the operation thereof before any court or
administrative agency or officer which, if adversely determined, would have material adverse effect upon the Premises
and there are no Parties with a right of first refusal or other contractual right to purchase the Premises;

(f)    any improvements, installations and additions to the Premises during SELLER’s ownership have been performed
in compliance with all applicable laws, ordinances and regulations;

(g)     as of the date hereof, the SELLER has received no notice from any municipal, county, state or federal agency
asserting or alleging that the Premises are or may be in violation of the provisions of any municipal, county, state or
federal codes, ordinances, statutes or regulations relating to zoning, building, environmental or health matters or
enforcement proceedings, which representation shall be deemed to have been repeated at the time and by virtue of
delivery of the deed;

(h)      SELLER has received no notice of eminent domain taking, condemnation, betterment or assessment, actual or
proposed, with respect to the Premises, and SELLER represents that SELLER has no knowledge of any municipal
betterments affecting the Premises approved, pending, proposed or contemplated by the Town of Saugus, MA which is
likely to result in an assessment against the Premises;

(i)      there are no rights or obligations affecting the Premises, which would entitle any entity to payment of a portion of
the proceeds of either this transaction or any future conveyance of the Premises (except the broker’s commission and
excise tax);
          Case 19-10061         Doc 32      Filed 04/08/19 Entered 04/08/19 17:30:29                 Desc Main
                                             Document     Page 17 of 29
(j)     SELLER has no knowledge of the occurrence of any substantial damage to the Premises by fire, vandalism, or
other casualty (whether or not insured against, and whether or not previously repaired or restored) and there has been no
such substantial damage to the Premises during SELLER’s ownership of the Premises;

(k)     in the time SELLER has owned the Premises, the basement has never had seepage of water in it and has never
flooded;

(l)     that at the time of the Closing, there will be no contracts, oral or in writing, involving the Premises which will be
binding upon BUYER or affect the Premises in any manner which cannot be unilaterally terminated by BUYER after
Closing;

(m)     the SELLER has not been required to purchase flood insurance.

Except as otherwise herein provided, the representations and warranties contained in this Agreement refer to the date of
execution of this Agreement. SELLER will promptly notify BUYER of any change in facts, which SELLER becomes
aware of, which arise prior to the Closing which would make any such representation or warranty untrue if such state of
facts had existed on the date of execution of this Agreement (“SELLER Notice”) and unless SELLER shall rectify the
cause of such change by the original or extended time for Closing hereunder, BUYER shall have the option of canceling
this Agreement by notifying the SELLER thereof in writing in which event all deposits made by the BUYER hereunder,
together with the accrued interest, shall be forthwith refunded to BUYER and this Agreement shall be null and void and
without recourse to the Parties hereto.

16.     The Parties acknowledge and agree that this Agreement may be signed in counterparts, and for purposes of this
Agreement, email transmissions, electronic, digital and/or facsimile signatures shall be construed as original, except as to
the Deed and the Closing documents and except as to documents intended to be recorded, provided however that no party
shall avoid any obligation hereunder by failing to provide such original signature.

17.     SELLER represents that with respect to any work SELLER has caused to be undertaken at the Premises, such
work was performed pursuant to building permits, if so required by the Town of Bourne, MA, with said permit(s) having
received final sign-off and closure by the Building Inspector of the Town of Bourne, MA (“Inspector”) and that SELLER
has no knowledge of any “open” building permits. In the event that there are any such “open” building permits, then
SELLER shall obtain a final sign off by the Inspector for said “open” building permits. In the event SELLER has caused
work to be done to the Premises without obtaining the requisite permits, then SELLER shall obtain a final sign off by the
Inspector for said work.

18.      In the event that any deadline or date for performance or providing notice contained herein (including, without
limitation, any contingencies or extensions of the time for performance under this Agreement), falls on a Saturday,
Sunday or legal holiday, as the case may be, such deadline or other date shall be automatically extended to the
immediately following business day.

19.     The SELLER agrees to provide the closing attorney with payoffs from all lenders and appropriate documentation
of the Short Sale Approval.

20.    SELLER warrants that SELLER has the legal right, power and authority to enter into this Agreement and to
perform all of its obligations hereunder.

21.      Pursuant to the so-called “Integrated Disclosure Rule” (“TRID”) issued by the Federal Consumer Finance
Protection Bureau (“CFPB”) regulations, lenders/Creditors are required to deliver all final figures and the Closing
Disclosure form to the BUYER/Consumer at least three (3) business days prior to the Closing/Consummation. As a
result, the Parties and their respective real estate brokers/agents, and/or their respective counsel, agree that they must
provide the lender/Creditor’s closing agent with all final figures, readings, adjustments and the like as specified in this
Agreement (such as water, sewer, real estate taxes, oil in tank, HOA fees, etc.), at least ten (10) days prior to
          Case 19-10061         Doc 32      Filed 04/08/19 Entered 04/08/19 17:30:29                Desc Main
                                             Document     Page 18 of 29
Closing/Consummation. If the BUYER’s lender/Creditor is required to give the BUYER new disclosures in accordance
with the CFPB regulations or any other such regulation which will require extension of the date for the time of
performance contained herein, the SELLER hereby agrees to extend said Closing/Consummation date so that the
BUYER’s lender/Creditor is in compliance with the CFPB, any such other regulation, and the time periods as required
thereunder, without prejudice to the BUYER or the BUYER’s deposit. No claim, counterclaim or cause of action for any
loss or damage resulting from an extension hereunder, shall be initiated or maintained by SELLER against BUYER or by
BUYER against SELLER, unless caused by breach of the terms of this paragraph.

22.     The closing attorney shall use its best reasonable efforts to record the appropriate closing documentation at the
Registry of Deeds on the Closing date. The Parties understand, however, that depending on the time and location of the
Closing, the documents may not be recorded until the following business day. If this occurs, BUYER shall not be
considered to be in default with the terms of this Agreement.

23.     Both BUYER and SELLER hereby acknowledge that they have been offered the opportunity to seek and confer
with qualified legal counsel of their choice prior to signing this Agreement. It is acknowledged and presumed that the
substance and form of this Agreement have been fully reviewed by the Parties hereto and approved as to form by their
respective legal counsel. It is further acknowledged and agreed that no presumption shall exist against either party hereto
by virtue of this Agreement or any portion hereof being considered to have been drafted by legal counsel for either party
hereto.

24.     Marital Status of SELLER (The Massachusetts Homestead Act):

Is SELLER married or does the SELLER have a partner in a civil union (please check appropriate line):

Yes ___
No ___

If the SELLER is married or has a partner in a civil union, the name of spouse/partner is: __________________________

In the event that SELLER is married, the SELLER'S spouse shall execute this Agreement and, by execution of this
Agreement, herein agrees to execute the subject deed to BUYER.

In the event that SELLER is unmarried, by execution of this Agreement, the SELLER hereby warrants and represents that
the SELLER is not married and has no former spouse, partner or former partner in a civil union who occupies or intends
to occupy the Premises as his/her principal residence or is entitled to claim the benefit of an existing estate of homestead
in the property by court order or otherwise. The SELLER herein shall also execute an Affidavit of Marital Status at
Closing evidencing same. Additionally, in the event that the SELLER'S marital status changes or the SELLER expects
his/her marital status may change prior to Closing, the SELLER herein agrees to notify the BUYER and BUYER'S
attorney at least seven (7) business days prior to the date set for Closing.

25.      If the Premises are serviced by an on-site subsurface wastewater disposal system (the “System”) regulated by
Title V of the Massachusetts State Environmental Code (“Title V”), BUYER’s obligations under this Agreement, are
conditioned upon SELLER providing to BUYER, at least five (5) business days prior to Closing, with an inspection report
and certification by a person licensed and authorized to perform inspections of such Systems (the “System Inspector”), in
the form prescribed by the Massachusetts Department of Environmental Protection (which inspection report and
certification shall be approved by the local Board of Health) stating that the System Inspector has not found any
information which indicates that the System fails to adequately protect public health or the environment as defined in Title
V and that the System “passes” and is adequate for ______ bedrooms.

26.    Theb BUYERb andb SELLERb acknowledgeb thatb theyb haveb beenb informedb thatb theb BUYER’sb attorney,b
Stephenb J.b Delamere,b Esq.b mayb beb askedb tob provideb legalb servicesb onb behalfb ofb theb mortgageb lenderb forb theb
mortgageb loanb closing,b inb additionb tobthebrepresentationbofbthebBUYERbinbthisbtransaction,bandbthatbBUYERbandb
         Case 19-10061        Doc 32    Filed 04/08/19 Entered 04/08/19 17:30:29 Desc Main
                                         Document          Page 19 of 29
SELLERb haveb nob objectionsb tob andb consentb tob thisb dualb representationb ofb BUYERb andb Lenderb byb Buyer’sb
attorney.b
b
b
b
b
b
b
b                                         03/13/2019                                       03/13/2019
       Bradley S Bartlett                 04:45 PM EDT
                                                         Laura Russo                       04:33 PM EDT

SELLER: Bradley S. Bartlett                          BUYER: Laura Russo

                                          03/14/2019
       Deborah L Bartlett                 07:15 AM EDT                           03/13/2019
______________________________
SELLER: BUYER: Deborah L. Bartlett
                                                   Alex   Russo                  04:30 PM EDT
                                                     _______________________________
                                                   BUYER: Alex Russo
Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 20 of 29




                                                                      EXHIBIT B
Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 21 of 29
Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 22 of 29
Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 23 of 29
Case 19-10061   Doc 32   Filed 04/08/19 Entered 04/08/19 17:30:29   Desc Main
                          Document     Page 24 of 29
  Case 19-10061       Doc 32    Filed 04/08/19 Entered 04/08/19 17:30:29          Desc Main
                                 Document     Page 25 of 29


                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS


RE:                                                Case No. 19-10061-JNF

Bradley J. Barlett                                 Chapter 13
Deborah L. Bartlett
                      Debtors

      ORDER ON DEBTORS’ MOTION FOR LEAVE TO SELL 1 LONG SWAMP ROAD,
         BOURNE, MA 02532 FREE AND CLEAR OF ALL LIENS, CLAIMS AND
                              ENCUMBRANCES

      WHEREAS the Debtors filed an expedited motion for leave to sell the real property at 1
Long Swamp Road, Bourne, MA 02532 (“REAL PROPERTY”); and

       WHEREAS after notice and opportunity for hearing, no interested party filed an objection
to Debtor’s Motion to Sell; and

        WHEREAS no party made a counteroffers or higher bid;

        WHEREAS good cause appears for allowing the motion; and

       WHEREAS the Debtor agreed to provide the Chapter 13 Trustee with a copy of the
closing statement within ten days of closing;

        NOW THEREFORE it is ordered that:

   1. Expedited treatement of the motion is allowed;

   2. Pursuant to 11 U.S.C. 363(m), the buyer entered the transaction in good faith and the 14-
      day stay of this order is waived;

   3. the motion is allowed and the REAL PROPERTY may be sold to Alex Russo and Laura
      Russo;

   4. The Debtor shall within 14 days of the closing provide the Chapter 13 Trustee with a
      copy of the settlement statement and amend the Chapter 13 Plan.




Dated: ________                             _______________________________
                                            Honorable Joan F. Feeney
  Case 19-10061           Doc 32       Filed 04/08/19 Entered 04/08/19 17:30:29                      Desc Main
                                        Document     Page 26 of 29


Through this Notice, higher offers for the Property are hereby solicited. Any higher offer must be accompanied by a
cash deposit of $____1,000.00____ in the form of a certified or bank check made payable to the undersigned.
Higher offers must be on the same terms and conditions provided in the Purchase and Sale Agreement, other than the
purchase price.

HEARING: A hearing on the Motion to Approve Sale, objection or higher offers is scheduled to take place on
_____________ at _________ AM/PM before the Honorable ____Joan N. Feeney , United States Bankruptcy
Judge, ___Courtroom _____. Any party who has filed an objection or higher offer is expected to be present at the
hearing, failing which the objection may be overruled or the higher offer stricken. The Court may take evidence at
any hearing on approval of the sale to resolve issues of fact. If no objection to the Motion to Approve Sale or higher
offer is timely filed, the Court, in its discretion, may cancel the scheduled hearing and approve the sale without a
hearing.

At the hearing on the sale the Court may 1.) Consider any requests to strike a higher offer, 2.) Determine further
terms and conditions of the sale, 3.) Determine the requirements for further competitive bidding, and 4.) Require one
or more rounds of sealed or open bids from the original offeror and any other qualifying offeror.

DEPOSIT: The deposit will be forfeited to the estate if the successful purchaser fails to complete the sale by the
date ordered by the Court. If the sale is not completed by the buyer approved by the Court, the Court, without
further hearing, may approve the sale of the Property to the next highest bidder.




Any questions concerning the intended sale shall be addressed to the undersigned.

                                                               Respectfully submitted,
                                                               Through Counsel,

Dated: April 8, 2019                                             /s/ Thomas C. Benner
                                                               Thomas C. Benner, Esq.
                                                               Benner & Weinkauf, P.C.
                                                               33 Samoset Street
                                                               Plymouth, MA 02360
                                                               (508) 746-8030
                                                               BBO# 655483
                                                               tbenner@tbennerlaw.com
  Case 19-10061        Doc 32     Filed 04/08/19 Entered 04/08/19 17:30:29        Desc Main
                                   Document     Page 27 of 29


                                   CERTIFICATE OF SERVICE

       I, Thomas C. Benner, counsel for the above-named Debtor, certify that on January 22,
2019 a true and accurate copy of the Motion to Sell Real Estate and Exhibits was served on the
following parties via first class mail, postage pre-paid or electronically.

By electronic mail using Court’s CM/ECF system:

John Fitzgerald, Esq., Office of the United States Trustee
Carolyn Bankowski, Esq. Chapter 13 Trustee

By regular mail, postage pre-paid:

Bradley and Deborah Bartlett
476 Route 6A
East Sandwich, MA 02537

Attached list of service recipients.
                                                       /s/ Thomas C. Benner
                                                     Thomas C. Benner, Esq.
                                                     Benner & Weinkauf, P.C.
                                                     33 Samoset Street
                                                     Plymouth, MA 02360
                                                     (508) 746-8030
                                                     BBO# 655484
                                                     tbenner@tbennerlaw.com
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                                                Document     Page 28 of 29        4850 E Street Rd Ste 300
                                                                                      Trevose, PA 19053-6643



Alltran Financial, LP                        American Express National Bank, AENB     Amex
PO Box 610                                   c/o Zwicker & Associates, P.C.           PO Box 297871
Sauk Rapids, MN 56379-0610                   80 Minuteman Road                        Fort Lauderdale, FL 33329-7871
                                             P.O. Box 9043
                                             Andover, MA 01810-0943

Amex Dsnb                                    (p)BANK OF AMERICA                       Bank of America, N.A.
PO Box 8218                                  PO BOX 982238                            P O Box 982284
Mason, OH 45040-8218                         EL PASO TX 79998-2238                    EL PASO, TX 79998-2284



(p)CAVALRY PORTFOLIO SERVICES LLC            Capital One Bank (USA), N.A.             Capital One Bank USA N
500 SUMMIT LAKE DR                           4515 N Santa Fe Ave                      PO Box 30281
STE 400                                      Oklahoma City, OK 73118-7901             Salt Lake City, UT 84130-0281
VALHALLA NY 10595-2322


Citibank, N.A.                               Client Services, Inc.                    Credit Control LLC
c/o Northland Group                          3451 Harry S Truman Blvd                 PO Box 546
PO Box 390905                                Saint Charles, MO 63301-9816             Hazelwood, MO 63042-0546
Minneapolis, MN 55439-0905


Dsnb Macys                                   Duane Morris LLP                         GC Services Limited Partnership
PO Box 8218                                  30 S 17th St                             PO Box 857
Mason, OH 45040-8218                         Philadelphia, PA 19103-4196              Oaks, PA 19456-0857



Gragil Associates, Inc.                      Great Call Inc.                          IRS
PO Box 1010                                  PO Box 4428                              PO Box 7346
Pembroke, MA 02359-1010                      Carlsbad, CA 92018-4428                  Philadelphia, PA 19101-7346



Korde & Associates, P.C.                     Lower Cape Ambulance Assoc.              Massachusetts Department of Revenue
900 Chelmsford St Ste 3102                   PO Box 1721                              PO Box 7065
Lowell, MA 01851-8102                        Provincetown, MA 02657-5721              Boston, MA 02204-7065



Midland Credit Management                    NCB Management Services Inc.             NES of Ohio
2365 Northside Dr Ste 300                    PO Box 1099                              2479 Edison Blvd Unit A
San Diego, CA 92108-2709                     Langhorne, PA 19047-6099                 Twinsburg, OH 44087-2476



Nationstar/Mr. Cooper                        Radius                                   Ratchford Law Group, P.C.
350 Highland St                              PO Box 390905                            409 Lackawanna Ave Ste 320
Houston, TX 77009-6623                       Minneapolis, MN 55439-0905               Scranton, PA 18503-2059
Shellpoint MortgageCase   19-10061
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                                                                                  Synchrony Bank
PO Box 10826                                    Document
                                            PO Box 965064    Page 29 of 29        c/o PRA Receivables Management, LLC
Greenville, SC 29603-0826                    Orlando, FL 32896-5064                     PO Box 41021
                                                                                        Norfolk, VA 23541-1021


(p)TD BANKNORTH NA                           TD Bank, N.A.,                             Town of Bourne
70 GRAY ROAD                                 c/o Schiller Knapp Lefkowitz Hertzel       PO Box 862
FALMOUTH ME 04105-2299                       950 New Loudon Rd                          Reading, MA 01867-0407
                                             Latham, NY 12110-2100


United Collection Bureau, Inc.               Zwicker & Associates, P.C.                 Bradley J. Bartlett
5620 Southwyck Blvd Ste 206                  200 Minuteman Rd Ste 202                   1 Long Swamp Rd
Toledo, OH 43614-1501                        Andover, MA 01810-1046                     Bourne, MA 02532-2306




Deborah L. Bartlett
1 Long Swamp Rd
Bourne, MA 02532-2306
